      Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 1 of 38




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
___________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
                  v.                )   Civil Action No. 4:22-cv-737
                                    )
CHEVRON PHILLIPS CHEMICAL           )
COMPANY LP,                         )
                                    )  Judge
                  Defendant.        )
___________________________________ )

                                          COMPLAINT

       Plaintiff, the United States of America (“United States”), by the authority of the Attorney

General of the United States and through the undersigned attorneys, acting at the request of the

Administrator of the United States Environmental Protection Agency (“EPA”), files this

Complaint and alleges as follows:

                                  NATURE OF THE ACTION

       1.      This civil action seeks injunctive relief and civil penalties from Chevron Phillips

Chemical Company LP (the “Defendant”) for violations of the Clean Air Act, 42 U.S.C. § 7401

et seq. (the “Clean Air Act”), regulations promulgated pursuant to the Clean Air Act, and

operating permits that incorporate Clean Air Act requirements and regulations.

       2.      The United States brings this case pursuant to Clean Air Act Sections 113(b) and

167, 42 U.S.C. §§ 7413(b) and 7477, based on the Defendant’s failures to adhere to good air

pollution control practices, including its failure to properly operate, maintain, monitor, and

control steam-assisted flares used at three petrochemical manufacturing facilities. The
      Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 2 of 38




Defendant owns and operates three facilities in Texas located in Cedar Bayou (the “Cedar Bayou

Facility”), Port Arthur (the “Port Arthur Facility”), and Sweeney (the “Sweeney Facility”).

These are collectively referred to as the “Defendant’s Facilities.”

        3.      The Defendant’s Clean Air Act violations resulted in thousands of tons of illegal

emissions of volatile organic compounds (“VOCs”), hazardous air pollutants (“HAPs”), and

other pollutants into the air in the State of Texas.

                                 JURISDICTION AND VENUE

        4.      This Court has jurisdiction over the subject matter of this action pursuant to Clean

Air Act Section 113(b), 42 U.S.C. § 7413(b), and 28 U.S.C. §§ 1331, 1345, and 1355. This

Court has personal jurisdiction over the Defendant because it does business in the State of Texas

and in this judicial district.

        5.      Venue is proper in this District pursuant to Section 113(b) of the Clean Air Act,

42 U.S.C. § 7413(b), and 28 U.S.C. §§ 1391(b) and (c) and 1395(a), because violations alleged

in this Complaint occurred at the Defendant’s Facilities located in this District.

                                              NOTICE

        6.      Notices of violations were given to the Defendant, and to the State of Texas, as

required by Clean Air Act Section 113(a)(1), 42 U.S.C. § 7413(a)(1). Notice of the

commencement of this action was given to the State of Texas as required by Clean Air Act

Section 113(b), 42 U.S.C. § 7413(b).

        7.      The 30-day period required by Clean Air Act Section 113(a), 42 U.S.C. § 7413(a),

between the notices of violation provided by the United States and the commencement of this

civil action has passed.


                                                 -2-
      Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 3 of 38




                                           AUTHORITY

       8.        The United States Department of Justice has the authority to bring this action on

behalf of the EPA under, inter alia, 28 U.S.C. §§ 516 & 519, and under Section 305(a) of the

Clean Air Act, 42 U.S.C. § 7605(a).

                           THE DEFENDANT AND ITS FACILITIES

       9.        Defendant is a Delaware corporation that does business in the State of Texas. At

all times relevant to the Complaint, Defendant has owned and operated the Cedar Bayou, Port

Arthur and Sweeny Facilities.

       10.       At all times relevant to the Complaint, Defendant has been a “person” within the

meaning of Section 302(e) of the Clean Air Act, 42 U.S.C. § 7602(e) and the applicable federal

and state regulations alleged herein.

       11.       The Defendant’s Facilities manufacture petrochemicals, including ethylene and

other olefins.

       12.       At all times relevant to this Complaint, Defendant has owned and operated seven

steam-assisted flares (flares CB701, CB710, FS541, X901, Z101, Z251 and Z1101) and one air-

assisted flare (FS9006) located at the Cedar Bayou Facility. These eight flares are collectively

referred to as the “Cedar Bayou Flares.”

       13.       At all times relevant to this Complaint, Defendant has owned and operated two

steam-assisted flares located at the Port Arthur Facility (flares 24 and 40). These two flares are

collectively referred to as the “Port Arthur Flares.”

       14.       At all times relevant to this Complaint, Defendant has owned and operated six

steam-assisted flares (flares 4, 8, 9, 10, 12 and 22) and two air-assisted flares (flares 14 and 20)

                                                 -3-
      Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 4 of 38




located at the Sweeny Facility. These eight flares are collectively referred to as the “Sweeny

Flares.”

           CLEAN AIR ACT STATUTORY AND REGULATORY BACKGROUND

A.     National Ambient Air Quality Standards and New Source Review

               i.      General

       15.     Clean Air Act Section 108(a), 42 U.S.C. § 7408(a), requires that the EPA prepare

air quality standards for certain air pollutants called “criteria pollutants.” For each criteria

pollutant, Clean Air Act Section 109, 42 U.S.C. § 7409, requires that the EPA promulgate

national ambient air quality standards (“NAAQS”) that will protect public health and welfare.

       16.     Pursuant to Clean Air Act Sections 108 and 109, 42 U.S.C. §§ 7408 and 7409, the

EPA identified and issued NAAQS for the following criteria air pollutants, as well as for others:

ozone, nitrogen oxides (“NOx”), and carbon monoxide (“CO”). See 40 C.F.R. §§ 50.8-50.11

(primary NAAQS); see also 40 C.F.R. §§ 50.15 and 50.19 (secondary NAAQS).

       17.     VOCs readily react in sunlight with NOx – forming the criteria pollutant ozone.

       18.     Pursuant to Clean Air Act Section 107(d), 42 U.S.C. § 7407(d), each state is

required to designate those areas within its boundaries (known as “air quality control regions”)

where the air quality is better or worse than the NAAQS for each criteria pollutant. An area that

meets the NAAQS for a particular pollutant is deemed an “attainment” area. An area that does

not meet the NAAQS for a particular pollutant is deemed a “non-attainment” area.

       19.     At all times relevant to this Complaint, Harris County, Texas, has been classified

as “in non-attainment” for ozone. The Cedar Bayou Facility is located in Harris County.




                                                 -4-
      Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 5 of 38




       20.     At all times relevant to this Complaint, Jefferson County, Texas, has been

classified as “in attainment” for ozone. The Port Arthur Facility is located in Jefferson County.

       21.     At all times relevant to this Complaint, Brazoria County, Texas, has been

classified as “in non-attainment” for ozone. The Sweeny Facility is located in Brazoria County.

       22.     At all times relevant to this Complaint, all of the areas in which the Defendant’s

Facilities are located have been classified as attainment or unclassifiable areas for NOx and CO.

               ii.     State Implementation Plans

       23.     Clean Air Act Section 110, 42 U.S.C. § 7410, requires each state to adopt and

submit to the EPA for approval a plan to attain and maintain the NAAQS for each criteria

pollutant in each air quality control region within a state. This plan is known as a state

implementation plan (“SIP”).

       24.     A SIP is enforceable by the state in which it is adopted. After a SIP is approved

by the EPA, it is also federally enforceable pursuant to Clean Air Act Section 113(b), 42 U.S.C.

§ 7413(b).

       25.     Clean Air Act Section 110(a)(2)(C), 42 U.S.C. § 7410(a)(2)(C), requires that each

SIP regulate the “modification and construction of any stationary source…as necessary to assure

that [NAAQS] are achieved, including [via] a permit program as required in Parts C and D [of

Subchapter I of the Clean Air Act].” The Clean Air Act’s requirements for newly constructed

and modified sources of criteria air pollutants are often referred to as the “New Source Review”

(or “NSR”) program.

               iii.    Prevention of Significant Deterioration (“PSD”) Requirements




                                                -5-
      Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 6 of 38




       26.     Part C of Subchapter I of the Clean Air Act, 42 U.S.C. §§ 7470-7492, sets forth

New Source Review requirements for preventing the significant deterioration of air quality in

areas that are attaining NAAQS. See 42 U.S.C. § 7470 (Purpose of PSD requirements). The

PSD regulations are found at 40 C.F.R. § 52.21 (the “PSD Regulations”).

       27.     The PSD program’s core requirement is a prohibition that “[n]o major emitting

facility…may be constructed in any [attainment] area” unless various requirements are met. See

42 U.S.C. § 7475(a). These requirements include, inter alia, obtaining a “PSD permit” with

emissions limitations based on the “best available control technology” (“BACT”) to control air

emissions. Id.; see also 40 C.F.R. § 52.21(j)-(r). The PSD Regulations also require a

demonstration that emissions from a newly constructed or modified facility will not contribute to

a violation of a NAAQS. See 42 U.S.C. § 7475(a); 40 C.F.R. § 52.21(k).

       28.     The PSD Regulations define “construction” as “any physical change in or change

in the method of operation (including fabrication, erection, installation, demolition, or

modification of an emissions unit) which would result in a change in actual emissions.” 40

C.F.R. § 52.21(b)(8). “Construction” is also defined to include the “modification” (as defined in

Clean Air Act Section 111(a), 42 U.S.C. § 7411(a)) of any source or facility. 42 U.S.C. §

7479(2)(C).

       29.     “Modification” is defined as “any physical change in, or change in the method of

operation of, a stationary source which increases the amount of any air pollutant emitted by such

source or which results in the emission of any air pollutant not previously emitted.” 42 U.S.C. §

7411(a).

       30.     The PSD Regulations define “major modification” as “any physical change in or

change in the method of operation of a major stationary source that would result in: a significant

                                                -6-
      Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 7 of 38




emissions increase (as defined in paragraph (b)(40) of this section) of a regulated NSR

pollutant.” 40 C.F.R.

§ 52.21(b)(2)(i).

       31.     The PSD Regulations set individual thresholds for each criteria pollutant that

define whether a net emissions increase of a pollutant is “significant.” See 40 C.F.R.

§ 52.21(b)(23)(i). For example, for ozone, “significant” means a net emissions increase of, or

the potential of a source to emit 40 tons per year (“TPY”) or more of VOCs or NOx. Id.

       32.     In an attainment area, a newly constructed stationary source or a major

modification to an existing stationary source must comply with BACT, as defined in 40 C.F.R.

§ 52.21(b)(12), for each pollutant subject to regulation under the Clean Air Act that it would

have the potential to emit in significant amounts or for which the modification would result in a

significant net emissions increase. 40 C.F.R. § 52.21(j)(2)-(j)(3).

               iv.      Non-attainment NSR Requirements

       33.     Part D of Subchapter I of the Clean Air Act, 42 U.S.C. §§ 7501-7515, sets forth

New Source Review requirements for areas that have not attained NAAQS.

       34.     Clean Air Act Sections 110(a)(2)(C) and (I) and 172(c), 42 U.S.C.

§§ 7410(a)(2)(C) and (I) and 7502(c), require that each SIP contain requirements to review and

permit newly constructed or modified sources of criteria air pollutants in non-attainment areas

(Non-attainment NSR).

       35.     Clean Air Act Section 173, 42 U.S.C. § 7503, requires that in order to obtain a

permit for the construction or major modification of a major stationary source in a non-

attainment area, the owner and operator of the source must, inter alia: a) comply with the lowest


                                               -7-
      Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 8 of 38




achievable emission rate (“LAER”), as defined in Clean Air Act Section 171(3), 42 U.S.C.

§ 7501(3), and b) obtain federally enforceable emission offsets at least as great as the new or

modified source’s emissions. See 42 U.S.C. §§ 7503(a)-(c); 40 C.F.R. Part 51, Appendix S, Part

IV, Conditions 1-4.

       36.     “Significant” has the same meaning as under the PSD Regulations, except that

under the Non-attainment NSR program, lower TPY thresholds may qualify as being significant.

40 C.F.R. § 51.165(a)(1)(x)(B). For example, in areas that are in non-attainment for ozone,

lower thresholds may qualify a stationary source of VOCs as a major stationary source. Id.

               v.      PSD and Non-attainment NSR in Texas

       37.     Clean Air Act Section 161, 42 U.S.C. § 7471, requires SIPs to contain emission

limitations and such other measures as may be necessary to prevent significant deterioration of

air quality in attainment areas. Clean Air Act Sections 110(a)(2)(C) and (I) and 172(c), 42

U.S.C. §§ 7410(a)(2)(C) and (I) and 7502(c), require that each SIP contain requirements to attain

the primary NAAQS in non-attainment areas.

       38.     A state may comply with Clean Air Act Section 161 (for PSD) or with Clean Air

Act Sections 172 and 173 (for Non-attainment NSR) if the EPA delegates authority to enforce

the respective federal PSD Regulations or Non-attainment NSR regulations to the state. A state

may also comply by promulgating its own PSD Regulations or Non-attainment NSR regulations

that then must be approved by the EPA as part of the SIP. In order to be approved, the state’s

PSD Regulations or Non-attainment NSR regulations must be at least as stringent as the

requirements set forth at 40 C.F.R. §§ 51.165 (for Non-attainment NSR) or 51.166 (for PSD).

       39.     The EPA has approved Texas’ PSD and Non-attainment NSR permit programs.

See 30 Texas Administrative Code (hereafter, “TAC”) §§ 116.160-116.163 (PSD program)

                                               -8-
      Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 9 of 38




(approved Sept. 27, 1995, 60 Fed. Reg. 49,781) and 30 TAC §§ 116.150-116.151 (Non-

attainment NSR program) (approved Sept. 27, 1995, 60 Fed. Reg. 49,781). See also 40 C.F.R.

§§ 52.2273 and 52.2303 (EPA approvals of subsequent revisions to Texas PSD and Non-

attainment NSR program requirements).

       40.     At all times relevant to this Complaint, Texas has been authorized to issue and

enforce PSD and Non-attainment NSR permits.

       41.     The EPA may enforce violations of Texas’ federally approved PSD program and

Non-attainment NSR program, as well as violations of permits issued pursuant to those

programs. See 42 U.S.C. § 7413(b), and 40 C.F.R. § 52.23.

B.     New Source Performance Standards

               i.      General

       42.     Clean Air Act Section 111(b)(1)(A), 42 U.S.C. § 7411(b)(1)(A), requires the EPA

to publish and periodically revise a list of categories of stationary sources that, in the EPA’s

judgment, cause, or contribute significantly to, air pollution which may reasonably be anticipated

to endanger public health or welfare. These categories correspond to distinct manufacturing

processes or equipment within a given industry.

       43.     Once a category is included on the list, Clean Air Act Section 111(b)(1)(B),

42 U.S.C. §7411(b)(1)(B), requires the EPA to promulgate a federal “New Source Performance

Standard” (“NSPS”) to regulate emissions from new sources within the category.

       44.     The NSPS are located at 40 C.F.R. Part 60. 40 C.F.R. § 60.1 explains that the

provisions of 40 C.F.R. Part 60 “apply to the owner or operator of any stationary source which

contains an affected facility, the construction or modification of which is commenced after the


                                                -9-
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 10 of 38




publication [in Part 60] of any [NSPS] (or, if earlier, the date of publication of any proposed

[NSPS]) applicable to that facility.”

       45.     An “affected facility” is defined as “any apparatus to which a standard is

applicable.” 40 C.F.R. § 60.2.

       46.     Clean Air Act Section 111(e), 42 U.S.C. § 7411(e), prohibits an owner or operator

of a new source from operating that source in violation of an NSPS after the effective date of the

NSPS applicable to such source.

               ii.     NSPS Part 60, Subpart A: General Standards

       47.     Pursuant to Clean Air Act Section 111(b)(1)(B), 42 U.S.C. § 7411(b)(1)(B), the

EPA promulgated general regulations that apply to all stationary sources subject to a NSPS,

regardless of their industrial category. These general NSPS standards are found at 40 C.F.R. Part

60, Subpart A, §§ 60.1 - 60.19 (“NSPS Subpart A”).

                       a.      NSPS Part 60, Subpart A: Good Air Pollution Control Practices

       48.     Pursuant to 40 C.F.R. § 60.11(d), owners and operators of any affected facility

subject to a NSPS must, at all times, including periods of startup, shutdown, and malfunction, to

the extent practicable, maintain and operate the affected facility including associated air

pollution control equipment in a manner consistent with good air pollution control practice for

minimizing emissions.

                       b.      NSPS Subpart A: Requirements for Flares Used as Control
                               Devices

       49.     NSPS Subpart A contains specific regulations that apply to flares that are used as

control devices for facilities subject to an NSPS. 40 C.F.R. § 60.18(b)-(f).




                                               - 10 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 11 of 38




       50.      Among other things, NSPS Subpart A requires that flares must be: a) designed

and operated with no visible emissions (40 C.F.R. § 60.18(c)(1)), b) operated with a flame

present at all times (40 C.F.R. § 60.18(c)(2)), c) monitored to ensure that they are operated and

maintained in conformance with their design (40 C.F.R. § 60.18(d)), and d) operated at all times

when emissions are vented to them (40 C.F.R. § 60.18(e)).

       51.      NSPS Subpart A also requires, among other things, that: a) the net heating value

(“NHV”) of gas being combusted in a steam-assisted flare must be 300 British Thermal Units

(“BTU”) per standard cubic foot (“scf”) or greater (40 C.F.R. § 60.18(c)(3)(ii)) and b) certain

exit velocity requirements must be met for steam-assisted flares (40 C.F.R. § 60.18(c)(4)).

                iii.   Specific NSPS Categorical Standards

       52.      Pursuant to Clean Air Act Section 111(b)(1)(A) of the Clean Air Act, 42 U.S.C. §

7411(b)(1)(A), the EPA has promulgated NSPS for the following category of stationary sources,

among others:

                                                               NSPS REGULATION
             SOURCE CATEGORY
                                                                (40 C.F.R. Part 60)
 Standards of Performance for Volatile
 Organic Liquid Storage Vessels (Including
 Petroleum Liquid Storage Vessels) for Which Subpart KB - 40 C.F.R. §§ 60.110b-60.117b
 Construction, Reconstruction, or Modification
 Commenced After July 23, 1984
 Standards of Performance for VOC Emissions
 from the Synthetic Organic Chemicals
 Manufacturing Industry for Which
                                               Subpart VV - 40 C.F.R. §§ 60.480-60.489
 Construction, Reconstruction, or Modification
 Commenced After January 5, 1981, and on or
 Before November 7, 2006


 Standards of Performance for Volatitle
 Organic Compound (VOC) Emissions from
                                                   Subpart NNN – 40 C.F.R. §§ 60.660-60.668
 the Synthetic Organic Chemicals
 Manufacturing Industry (SOCMI) Distillation

                                               - 11 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 12 of 38




 Operations


 Standards of Performance for VOC Emissions
 from Synthetic Organic Manufacturing       Subpart RRR - 40 C.F.R. §§ 60.700-60.708
 Industry (SOCMI) Reactor Processes.



       53.     Flares used as a control device for affected facilities subject to 40 C.F.R. Part 60,

Subparts KB, VV, NNN, and RRR must comply with the requirements of NSPS Subpart A,

including 40 C.F.R. §§ 60.11(d) and 60.18. See 40 C.F.R. §§ 60.562-1(a)(1)(i)(C) and (ii),

60.562-2, and 60.563(c).

       54.     Part 60, Subparts KB, VV, NNN, and RRR explicitly require that flares used as a

control device for affected facilities subject to those subparts must comply with the requirements

of 40 C.F.R. 60.18. See 40 C.F.R. § 60.112b(a)(3)(i); 40 C.F.R. 60.482-10a(d); 40 C.F.R. §§

60.5621(a)(1)(i)(C) and (ii) and 60.562-2; 40 C.F.R. § 60.662(b), and 40 C.F.R.§ 60.702(b).

       55.     Part 60, Subparts VV and DDD explicitly require that flares used as a control

devices for affected facilities subject to those subparts must be monitored to ensure that they are

operated and maintained in conformance with their design. See 40 C.F.R. 60.482-10(e) and 40

C.F.R. § 60.563(c)

C.     Clean Air Act Section 112 Regulation of HAPs Pre-1990

               i.      Background

       56.     Clean Air Act Section 112 contains requirements to control emissions of certain

HAPs, such as benzene. See 42 U.S.C. § 7412 and 40 C.F.R. § 61.01(a). These requirements are

known as “national emission standards for hazardous air pollutants” (“NESHAPs”). NESHAPs

established before the Clean Air Act was amended in 1990 are promulgated at 40 C.F.R. Part 61.


                                               - 12 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 13 of 38




                 ii.    Part 61, Subpart A: NESHAP General Standards

       57.       Before it was amended on November 15, 1990 (the “1990 Amendments”), the

EPA promulgated general regulations that apply to all stationary sources of HAPs that are

subject to the NESHAPs, regardless of their source category. See 40 C.F.R. § 61.01(c). These

general NESHAP standards are found at 40 C.F.R. Part 61, Subpart A, §§ 61.01-61.19

(“NESHAP Subpart A”).

       58.       Like NSPS Subpart A, NESHAP Subpart A requires that “the owner and operator

of each stationary source [of HAPs] shall maintain and operate the source, including associated

equipment for air pollution control, in a manner consistent with good air pollution control

practices for minimizing emissions.” 40 C.F.R. § 61.12(c).

                 iii.   Specific Categorical NESHAPs

       59.       Pursuant to Clean Air Act Section 112, as it existed before the 1990 Amendments,

the EPA promulgated NESHAPs for the following category of stationary sources of HAPs:

                                                                      NESHAP
             SOURCE CATEGORY
                                                                  (40 C.F.R. Part 61)
 National Emission Standard for Equipment
                                                    Subpart V - 40 C.F.R. §§ 61.240-61.247
 Leaks (fugitive emissions)


       60.       Flares used as a control device for sources subject to 40 C.F.R. Part 61, Subpart V

must comply with the requirements of 40 C.F.R. §§ 60.18 and 61.12(c). 40 C.F.R. § 61.242-

11(d) and (e).

       61.       Flares used as a control device for sources subject to 40 C.F.R. Part 61, Subpart V

must comply with the requirement that each flare be maintained and operated “in a manner




                                                - 13 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 14 of 38




consistent with good air pollution control practice for minimizing emissions.” 40 C.F.R. §

61.12(c).

       62.      The Clean Air Act’s 1990 Amendments did not alter the pre-1990 NESHAPs, and

those regulations remain in effect.

D.     Clean Air Act Section 112 Regulation of HAPs Post-1990

                i.      Background

       63.      The Clean Air Act’s 1990 Amendments amended Clean Air Act Section 112 and

updated the program for controlling HAPs. See H.R. Rep. No. 101-490, 101st Cong., 2d Sess.,

Part 1 at 324 (1990).

       64.      The Clean Air Act’s 1990 Amendments established a list of 188 HAPs that

Congress determined could cause adverse health or environmental effects. See 42

U.S.C. § 7412(b)(1). Pursuant to 42 U.S.C. § 7412(c), the EPA was required to publish a list of

all categories and sub-categories of, inter alia, major sources of HAPs.

       65.      After publishing the list of emission sources required by 42 U.S.C. § 7412(c), the

Clean Air Act’s 1990 Amendments required the EPA to promulgate regulations establishing

emission standards for each category and subcategory of major sources of HAPs. See 42 U.S.C.

§ 7412(d)(1).

       66.      The emission standards promulgated under Clean Air Act Section 112, 42 U.S.C.

§ 7412, as amended, are classified as NESHAPs, however, they are often also referred to as

“maximum achievable control technology” (“MACT”) standards. The MACT regulations are

found at 40 C.F.R. Part 63.




                                               - 14 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 15 of 38




       67.     Clean Air Act Section 112, as amended, prohibits any person from operating a

stationary source subject to a MACT regulation in violation of such standard after it becomes

effective. See 42 U.S.C. § 7412(i)(3).

               ii.    Part 63, Subpart A: General Standards

       68.     Pursuant to Clean Air Act Section 112, 42 U.S.C. § 7412, as amended, the EPA

promulgated regulations that apply to stationary sources of HAPs that are subject to the MACT

standards, regardless of their source category. See 40 C.F.R. §§ 63.1(b) and (c). These general

standards are found at 40 C.F.R. §§ 63.1-63.16 (“MACT Subpart A”).

       69.     The categorical MACT standards in Part 63 explicitly identify which specific

provisions of the MACT Subpart A regulations apply or do not apply to that source category.

See 40 C.F.R. § 63.1(a)(4).

                      a.      MACT Subpart A: Good Air Pollution Control Practices

       70.     Like the good air pollution control practice requirement of NSPS Subpart A and

Subpart A of the NESHAPs, the MACT Subpart A regulations require that: “[a]t all times,

including periods of startup, shutdown, and malfunction, the owner or operator must operate and

maintain any affected source, including associated air pollution control equipment and

monitoring equipment, in a manner consistent with safety and good air pollution control

practices for minimizing emissions.” 40 C.F.R. § 63.6(e)(1)(i).

                      b.      MACT Subpart A: Requirements for Flares Used as Control
                              Devices

       71.     Like NSPS Subpart A, the MACT Subpart A regulations include requirements

that apply to flares that are used as control devices for affected sources subject to a MACT




                                              - 15 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 16 of 38




standard. See 40 C.F.R. § 63.11(b). These requirements generally mirror the requirements of 40

C.F.R. § 60.18. See 40 C.F.R. § 63.11(b)(1)-(7).

               iii.   Specific Categorical MACT Standards

       72.     Pursuant to Clean Air Act Section 112(c), 42 U.S.C. § 7412(c), as amended, the

EPA promulgated MACT regulations for the following categories of stationary sources of HAPs:

                                                                      MACT
             SOURCE CATEGORY
                                                                (40 C.F.R. Part 63)
 National Emission Standards for Organic
 HAPs from the Synthetic Organic Chemical           Subpart F - 40 C.F.R. §§ 63.100-63.107
 Manufacturing Industry

 National Emission Standards for Organic
 HAPs from the Synthetic Organic Chemical
                                                    Subpart G - 40 C.F.R. §§ 63.110-63.123
 Industry for Process Vents, Storage Vessels,
 Transfer Operations, and Wastewater

 National Emission Standards for HAPs for
 Source Categories: Generic Maximum                 Subpart YY - 40 C.F.R. §§ 63.1100-63.1114
 Achievable Control Technology Standards
 National Emission Standards for HAPs:
                                                    Subpart FFFF - 40 C.F.R. §§ 63.2430-
 Miscellaneous Organic Chemical
                                                    63.2550
 Manufacturing



       73.     Flares used as control devices for sources subject to 40 C.F.R. Part 63, Subparts

F, G, YY, and FFFF must comply with the requirements of 40 C.F.R. § 63.11(b). See 40 C.F.R.

Part 63, Subpart F, Table 3 (applicability for Subpart G); 40 C.F.R. § 63.113(a)(1)(i) (Subpart

G); 40 C.F.R. § 63.1103(e), Table 7 (applicability for Subpart YY ethylene production sources)

(cross-referencing 40 C.F.R. §§ 63.982(b) and, in turn, 63.987(a)); and 40 C.F.R. Part 63,

Subpart FFFF, Table 12.




                                                - 16 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 17 of 38




       74.     Under Part 63, Subpart YY, owners and operators of an ethylene process vent

must reduce emissions of organic HAPs by 98 weight-percent, or reduce organic HAPs or total

organic compounds (“TOC”) to a concentration of 20 ppmv, whichever is less stringent, by

venting emissions through a closed vent system to any combination of control devices, including

flares, and meeting the requirements specified in 40 C.F.R. § 63.982(b) and (c)(2). 40 C.F.R.

§ 63.1103(e)(3) and Table 7 at (d).

       75.     Flares used as a control device for sources subject to Part 63, Subpart FFFF, must

comply with the requirement in 40 C.F.R. § 63.6(e)(1)(i) that each flare be maintained and

operated “in a manner consistent with good air pollution control practice for minimizing

emissions.” See 40 C.F.R. Part 63, Subpart FFFF, Table 12.

E.     Title V Operating Permits

       76.     Title V of the Clean Air Act, 42 U.S.C. § 7661-7661f, establishes a permit

program for certain stationary sources of air pollution, including major sources subject to Clean

Air Act Section 111 (NSPS regulations), Clean Air Act Section 112 (NESHAP/MACT program),

or New Source Review requirements. See 42 U.S.C. § 7661a(a).

       77.     The purpose of Title V is to ensure that all “applicable requirements” governing a

facility’s compliance with the Clean Air Act, including SIP requirements, are consolidated and

expressed in one document – an “operating” permit (a/k/a a “Title V permit”). See 42 U.S.C.

§ 7661c(a).

       78.     Pursuant to Clean Air Act Section 502(b), 42 U.S.C. § 7661a(b), the EPA

promulgated regulations implementing the requirements of Title V and establishing the

minimum elements of a Title V permit program to be administered by any state or local air


                                              - 17 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 18 of 38




pollution control agency. 57 Fed. Reg. 32250 (July 21, 1992). These regulations are codified at

40 C.F.R. Part 70.

       79.     Texas has an EPA-approved Title V program. See 30 TAC, Chapter 122

(approved at 66 Fed. Reg. 63,318 (Dec. 6, 2001)). Texas is therefore authorized to issue and

enforce Title V permits in the state of Texas. The regulations governing Texas’ Title V air

operating permit program are set forth at 30 TAC, Chapter 122 (Federal Operating Permits

Program).

       80.     Clean Air Act Section 504(a), 42 U.S.C. § 7661c(a), the implementing regulations

at 40 C.F.R. § 70.6(a) and (c), and the Title V permit program of Texas requires that each Title V

permit include, among other things, enforceable emission limitations, compliance schedules, and

such other conditions as are necessary to assure compliance with “applicable requirements” of

the Clean Air Act and the requirements of the relevant SIP. See 30 TAC § 122.142.

       81.     “Applicable Requirements” are defined to include any relevant NSPS,

NESHAP/MACT, and New Source Review requirements. See 40 C.F.R. § 70.2; see also 30

TAC § 122.10(I).

       82.     Clean Air Act Section 502(a), 42 U.S.C. § 7661a(a), and the Title V permit

program of Texas prohibits violations of any requirement of a Title V permit. See TAC §

122.143(4).

       83.     Clean Air Act Section 502(a), 42 U.S.C. § 7661a(a), the implementing regulations

at 40 C.F.R. §§ 70.1(b) and 70.7(b), and the Title V permit program of Texas provides that no

source subject to Title V may operate except in compliance with a Title V permit. See 30 TAC §

122.121.


                                              - 18 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 19 of 38




       84.     Clean Air Act Section 503(c), 42 U.S.C. § 7661b(c), the implementing regulations

at 40 C.F.R. § 70.5(a), and the Title V program of Texas provides that each owner and operator

of a source subject to Title V permitting requirements must submit a permit application that

includes various information. See 42 U.S.C. § 7661b(b), and 40 C.F.R. §§ 70.5(a) and (c); 30

TAC § 122.130-122.134 and 122.142-122.148.

       85.     Under 40 C.F.R. § 70.5(b) and the Title V permit program of Texas, any applicant

who fails to submit any relevant facts or who has submitted incorrect information in a permit

application must, upon becoming aware of such failure or incorrect submittal, promptly submit

such supplementary facts or correct information. See 30 TAC § 122.136.

       86.     All federally approved terms and conditions of a Title V permit are enforceable

by the EPA. 42 U.S.C. § 7413(b); 40 C.F.R. § 70.6(b).

E.     Enforcement of the Clean Air Act

       87.     Clean Air Act Sections 113(a)(1) and (a)(3), 42 U.S.C. §§ 7413(a)(1) and (a)(3),

authorize the EPA to bring a civil action under Section 113(b), if the EPA finds that any person

has violated or is in violation of, inter alia, any requirement or prohibition of a SIP, the NSPS

program, the NESHAP/MACT program, a PSD or Non-attainment NSR permit, the Title V

permit program, or a Title V permit.

       88.     Clean Air Act Section 113(b), 42 U.S.C. § 7413(b), authorizes the EPA to initiate

a judicial enforcement action for a permanent or temporary injunction to address Clean Air Act

violations, as well as to seek civil penalties of up to $37,500 per day for each violation that

occurs between January 13, 2009 and November 2, 2015, and up to $109,024 per day for each

violation that occurs after November 2, 2015. See Federal Civil Penalties Inflation Adjustment

Act of 1990, 28 U.S.C. § 2461 (note), as amended by 31 U.S.C. § 3701 (note); 40 C.F.R. § 19.4.

                                                - 19 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 20 of 38




                                  GENERAL ALLEGATIONS

        89.    A flare is a combustion device that uses an uncontrolled volume of ambient air to

burn and dispose of gases generated by industrial manufacturing processes. Flares are used at

chemical manufacturing processes like the Defendant’s Facilities, petroleum refineries, and other

types of industrial facilities. Flares constitute “air pollution control equipment” within the

meaning of 40 C.F.R. §§ 60.11(d), 61.12(c), and 63.6(e)(1)(i).

        90.    Gas generated by facility operations that is directed to a flare for combustion is

known as “vent gas.”

        91.    Flares are classified by their position (ground-level or elevated) and by the

method used to enhance mixing at the flare tip, e.g., steam-assisted, air-assisted, or non-assisted.

        92.    Flares are designed, in part, to achieve high combustion efficiency of VOCs and

HAPs.

        93.     “Steam-assisted” flares inject steam (“assist-steam”) that is piped to the flare tip

to assist in combustion by promoting turbulence within a flare’s flame.

        94.     “Air-assisted” flares inject air via fans or other means to the flare tip to assist in

combustion by promoting turbulence within a flare’s flame.

        95.    The steam-to-vent gas ratio (generally referred to as “S:VG”) is one operational

parameter used to monitor flare operation and combustion efficiency. The NHV of the gases in

the combustion zone of a flare (“Combustion Zone Gas”) is another operational parameter that is

an indicator of flare combustion efficiency.

        96.    As part of its design, a steam-assisted flare must be operated within a range of

steam-to-vent gas ratios that, at one end of the range, avoids smoking through an insufficient

                                                - 20 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 21 of 38




S:VG, and at the other end of the range, avoids incomplete combustion due to excessive

steaming caused by an excessive S:VG ratio. Both insufficient and excessive S:VG ratios reduce

VOC and HAP combustion efficiency below a flare’s designed efficiency.

       97.     Air-assisted flares must be also operated within a range of assist-air-to-vent-gas

ratios so that these flares achieve their designed combustion efficiency.

       98.     Excessive levels of assist-steam or assist-air will reduce combustion efficiency

and may effectively quench or snuff the flame.

       99.     Good air pollution control practices to minimize emissions from flares include,

inter alia, combusting essentially all molecules of hydrocarbons (which include VOCs) and

HAPs in the vent gas sent to a flare. For assisted flares, good air pollution control practices to

minimize emissions from flares requires, inter alia, injecting assist-steam or assist-air at a rate

that maximizes flame stability and flare combustion efficiency.

       100.    At all times relevant to this Complaint, subject to a reasonable opportunity for

further investigation and discovery, each of the Defendant’s Facilities has been a chemical

process plant that has emitted or had the potential to emit at least 100 TPY of NOx, VOCs,

and/or CO.

       101.    At all times relevant to this Complaint, subject to a reasonable opportunity for

further investigation and discovery, each of the Defendant’s Facilities has been a chemical

process plant that has emitted or had the potential to emit at least 10 TPY or more of any

individual HAP or 25 TPY or more of any combination of HAPs.

       102.    At all times relevant to this Complaint, subject to a reasonable opportunity for

further investigation and discovery, each of the Defendant’s Facilities has met the definition of:


                                                - 21 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 22 of 38




               a.      “Major emitting facility,” as defined by Clean Air Act Section
                       169(1), 42 U.S.C. § 7479(1), and the implementing NSR
                       regulations;

               b.      “Major stationary source,” as defined by 40 C.F.R.
                       § 52.21(b)(1)(i)(a);

               c.      “Stationary source” as defined by 42 U.S.C. § 7411(a)(3) and the
                       implementing NSPS regulations;

               d.      “Major source” of HAPs, as defined by 42 U.S.C. § 7412(a)(1) and
                       the implementing NESHAP and MACT regulations; and

               e.      “Major source” as defined by 42 U.S.C. § 7661(2) and the
                       implementing Clean Air Act Title V regulations.

       103.    At all times relevant to this Complaint, subject to a reasonable opportunity for

further investigation and discovery, the Cedar Bayou, Port Arthur and Sweeny Facilities have

met the definitions of the terms listed in ¶ 102 as adopted by and incorporated into the federally

approved Texas SIP.

       104.    At all times relevant to this Complaint, subject to a reasonable opportunity for

further investigation and discovery, the Cedar Bayou, Port Arthur and Sweeny Facilities have

been subject to the Title V permitting requirements in 40 C.F.R. Part 70 and the federally

approved Texas SIP.

A.     NSPS General Allegations

       105.    At all times relevant to this Complaint, one or more of the Port Arthur Flares have

been subject to the requirements of NSPS Subpart KB. 40 C.F.R. § 60.112b.

       106.    At all times relevant to this Complaint, Defendant has used one or more of the

Port Arthur Flares as a control device to control continuous emission streams from affected

facilities at the Port Arthur Facility that are subject to NSPS KB. 40 C.F.R. § 60.112b.


                                               - 22 -
      Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 23 of 38




       107.    At all times relevant to this Complaint, one or more of the Cedar Bayou and Port

Arthur Flares have been subject to the requirements of NSPS Subpart NNN. 40 C.F.R.

§ 60.660(a) and (b).

       108.    At all times relevant to this Complaint, Defendant has used one or more of the

Cedar Bayou and Port Arthur Flares as a control device to control continuous emission streams

from affected facilities at the Cedar Bayou and Port Arthur Facilities that are subject to NSPS

Subpart NNN. 40 C.F.R. § 60.662(b).

       109.    At all times relevant to this Complaint, one or more of the Cedar Bayou Flares

have been subject to the requirements of NSPS Subpart VV. 40 C.F.R. § 60.482-10.

       110.    At all times relevant to this Complaint, Defendant has used one or more of the

Cedar Bayou Flares as a control device to control continuous emission streams from affected

facilities at the Cedar Bayou Facility that are subject to NSPS Subpart VV. 40 C.F.R. § 60.482-

10.

       111.    At all times relevant to this Complaint, one or more of the Port Arthur Flares have

been subject to the requirements of NSPS Subpart RRR. 40 C.F.R. § 60.702(b).

       112.    At all times relevant to this Complaint, Defendant has used one or more of the

Port Arthur Flares as a control device to control continuous emission streams from affected

facilities at the Cedar Bayou Facility that are subject to NSPS RRR. 40 C.F.R. § 60.702(b).

B.     NESHAP General Allegations

       113.    At all times relevant to this Complaint, one or more flares used by the Defendants

at the Cedar Bayou Facility has been subject to the requirements of 40 C.F.R. Part 61, Subpart V.

40 C.F.R. § 61.242-11(d) and (e).

                                              - 23 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 24 of 38




       114.    At all times relevant to this Complaint, the Defendant has owned and operated

equipment, including pumps, compressors, pressure relief devices, sampling connection systems,

open-ended valves or lines, valves, connectors, surge control vessels, bottoms receivers, and/or

control devices or systems, that either contain or contact a liquid or gas that is at least 10 percent

by weight a volatile HAP, as determined according to the provisions of 40 C.F.R. § 61.245(d), at

the Cedar Bayou Facility. 40 C.F.R. § 61.240(a).

       115.     This equipment constitutes equipment in “volatile hazardous air pollutant

service” and an affected source within the meaning of 40 C.F.R. Part 61, Subpart V. 40 C.F.R. §

61.240(a).

       116.    At all times relevant to this Complaint, the Defendant has used one or more

closed vent systems and flares as control devices for the equipment subject to the NESHAP for

Equipment Leaks (Fugitive Emission Sources), Subpart V at the Cedar Bayou Facility. 40

C.F.R. § 61.242-11(d) and (e).

C.     MACT General Allegations

       117.    40 C.F.R. Part 63, Subparts F, G, and H set forth a group of related Clean Air Act

requirements for stationary sources involved in synthetic organic chemical manufacturing

(“SOCMI Sources”). This set of regulations is sometimes referred to as the “Hazardous Organic

NESHAP” (or “HON”) standards.

       118.    40 C.F.R. Part 63 Subpart F provides general applicability criteria for SOCMI

Sources, including whether certain SOCMI Sources are, in turn, subject to more specific

standards in 40 C.F.R. Part 63 Subpart G (for process vents, storage vessels, transfer operations,




                                                - 24 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 25 of 38




and wastewater at SOCMI Sources) and Subpart H (for equipment leaks from SOCMI Sources).

40 C.F.R. § 63.110(a).

       119.    Owners and operators of SOCMI Sources that are subject to 40 C.F.R. Part 63,

Subpart F are required to comply with applicable parts of 40 C.F.R. Part 63, Subparts G and H.

40 C.F.R. § 63.102(a).

       120.    The affected sources under the HON standards also include equipment required

by or used as a method of compliance with 40 C.F.R. Part 63, Subparts F, G or H, including

control devices such as flares. 40 C.F.R. § 63.100(e).

       121.    At all times relevant to this Complaint, one or more of the Port Arthur and

Sweeny Flares have been subject to the requirements of 40 C.F.R. Part 63, Subparts F and G.

       122.    At all times relevant to this Complaint, the Defendant has owned and operated

“chemical manufacturing process unit[s]” within the meaning of 40 C.F.R. § 63.101(b) at the

Port Arthur and Sweeny Facilities.

       123.    At all times relevant to this Complaint, the Defendant has used one or more of the

Port Arthur Facility and Sweeny Flares as a control device for sources, process vents, and

equipment subject to 40 C.F.R. Part 63, Subparts F and G.

       124.    At all times relevant to this Complaint, one or more of the Sweeny Flares has

been subject to the requirements of 40 C.F.R. Part 63, Subpart YY.

       125.    At all times relevant to this Complaint, Defendant has owned and operated

ethylene process vents from continuous ethylene production unit operations, within the meaning

of 40 C.F.R. § 63.1103(e)(2) at the Sweeny Facility. These process vents are affected sources




                                              - 25 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 26 of 38




within the ethylene production category regulated by 40 C.F.R. Part 63, Subpart YY. 40 C.F.R.

§§ 63.1100(a), Table 1 and 63.1103(e)(1)(i)(B).

       126.    At all times relevant to this Complaint, Defendant has owned and operated

equipment that contains or contacts organic HAPs, within the meaning of 40 C.F.R. § 63.1101,

and is subject to 40 C.F.R. Part 63, Subpart YY. This equipment includes pumps, compressors,

agitators, pressure relief devices, sampling collection systems, open-ended valves or lines,

valves, connectors, and/or instrumentation systems in organic HAP service, as defined in 40

C.F.R. § 63.1103, for the ethylene production process unit(s) at the Sweeny Facility. This

equipment is an affected source regulated by 40 C.F.R. Part 63, Subpart YY. 40 C.F.R. §

63.1103(e)(1)(i)(D).

       127.    At all times relevant to this Complaint, Defendant has used one or more of the

Sweeny Flares as a control device for process vents and equipment that are subject to 40 C.F.R.

Part 63, Subpart YY. 40 C.F.R. § 63.1103(e), Table 7 (for process vents, cross-referencing to:

40 C.F.R. § 63.1034(b)(2)(iii) and, in turn, 40 C.F.R. § 63.987(a)).

D.     Title V General Allegations

       128.    At all times relevant to this Complaint, each of the Defendant’s Facilities have

been subject to a federally enforceable Title V operating permit requiring, inter alia, that the

Cedar Bayou Flares, Port Arthur Flares and Sweeny Flares comply with the requirements of 40

C.F.R. §§ 60.11(d), 61.12(c), and/or 63.6(e)(1)(i).

       129.    At all times relevant to this Complaint, each of the Defendant’s Facilities have

been subject to a federally enforceable Title V operating permit requiring, inter alia, that the




                                               - 26 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 27 of 38




Cedar Bayou Flares, Port Arthur Flares and Sweeny Flares comply with the requirements of one

or more of the following: 40 C.F.R. § 60.18 and/or 40 C.F.R. § 63.11.

                               FIRST CLAIM FOR RELIEF

                       (Violation of New Source Review Requirements)

        130.   Paragraphs 4-41 and 89-127 are re-alleged and incorporated by reference.

        131.   Subject to a reasonable opportunity for investigation and discovery, at various

times from 2009 to the present, the Defendant “commenced construction” of one or more “major

modification[s],” as defined in the Clean Air Act and the Texas SIP, at the Defendant’s

Facilities.

        132.   Subject to a reasonable opportunity for investigation and discovery, the Defendant

made physical changes and/or changes in the methods of operation to one or more of the flares

identified in Paragraphs 12-14, and/or the closed vent systems (a/k/a flare “headers”) that

transport gases from manufacturing process units to those flares. Subject to a reasonable

opportunity for investigation and discovery, these modifications include changes to the flare

stacks, flare tips, main flare headers, and/or process unit sub-headers.

        133.   Subject to a reasonable opportunity for investigation and discovery, one or more

of these modifications resulted in a significant net emissions increase of VOCs, NOx, and/or CO

from one or more of the flares identified in Paragraphs 12-14.

        134.   The Defendant did not apply for, obtain, or operate pursuant to a PSD permit or a

Non-attainment NSR permit, as applicable, for any of these modifications.

        135.   Subject to a reasonable opportunity for investigation and discovery, the Defendant

failed to comply with various requirements of the PSD Regulations for VOCs, NOx, and/or CO

                                               - 27 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 28 of 38




applicable to one or more of the Flares identified in Paragraphs 12-14, including, inter alia,

failing to: i) comply with BACT on the flare system of one or more flares; ii) demonstrate that

the emissions increases from the modifications would not cause or contribute to violations of air

quality standards; and iii) otherwise comply with the requirements of the PSD program and the

Texas SIP.

       136.     Subject to a reasonable opportunity for investigation and discovery, the Defendant

failed to comply with various requirements of the Non-attainment NSR regulations for VOCs

applicable to one or more of the flares identified in Paragraphs 12-14. Subject to a reasonable

opportunity for investigation and discovery, Defendant failed to, inter alia, i) comply with LAER

on the flare systems for the flares identified in Paragraphs 12-14 and; ii) secure emissions

reductions (offsets) from existing sources in the same air quality region where the facility is

located such that there would be reasonable progress toward attainment of the applicable

NAAQS; and iii) otherwise comply with the requirements of the Non-attainment NSR

regulations and the corresponding implementing provisions of the Texas SIP.

       137.     Subject to a reasonable opportunity for investigation and discovery, since the time

the Defendant commenced construction of the major modifications alleged herein, the Defendant

has violated:

                a. 42 U.S.C. § 7475;

                b. 40 C.F.R. §§ 52.21(a)(2)(iii) and 52.21(j)-52.21(r)(7);

                c. 40 C.F.R. Part 51, Appendix S, Part IV, Conditions (i)(a) 1-4; and

                d. The federally enforceable corollary provisions of the Texas SIP to the extent
                that each adopts, incorporates, and/or implements any of the federal provisions
                cited in sub-paragraphs 137(a)-(c).




                                               - 28 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 29 of 38




          138.   Unless restrained by an order of this Court, the violations alleged in this First

Claim for Relief will continue.

          139.   As provided in Clean Air Act Section 113(b), 42 U.S.C. § 7413(b), the violations

set forth above subject the Defendant to injunctive relief and civil penalties. See also 40 C.F.R.

§ 19.4.

                                  SECOND CLAIM FOR RELIEF

             (Violation of Title V Requirements for New Source Review Violations)

          140.   Paragraphs 4-41, 76-104, and 131-139 are re-alleged and incorporated by

reference.

          141.   Subject to a reasonable opportunity for investigation and discovery, as alleged in

the First Claim for Relief, the Defendant commenced construction of one or more major

modifications at the Defendant’s Facilities. These activities triggered requirements, inter alia, to:

i) obtain PSD permits and/or Non-attainment NSR permits establishing emissions limitations that

meet BACT or LAER, as applicable, for one or more of the flares identified in Paragraphs 12-14,

ii) operate in compliance with BACT or LAER, as applicable, at one or more of these flares, and

iii) otherwise comply with the requirements of the PSD or Non-attainment NSR programs, as

applicable. Subject to a reasonable opportunity for investigation and discovery, the Defendant

failed to comply with these requirements.

          142.   Subject to a reasonable opportunity for investigation and discovery, the Defendant

failed to submit complete and timely applications for Title V operating permits for one or more

of the flares identified in Paragraphs 12-14 that, inter alia, included enforceable BACT and

LAER limits, identified all Applicable Requirements, accurately certified compliance with such



                                                 - 29 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 30 of 38




requirements, and contained a compliance plan for all Applicable Requirements for which those

flares were not in compliance.

       143.      In the alternative, the Defendant failed to supplement or correct previously

submitted incorrect or incomplete Title V permit applications in order to: i) seek enforceable

BACT or LAER limits, as applicable, for one or more of the flares identified in Paragraphs 12-

14, ii) identify all Applicable Requirements, iii) accurately certify compliance with such

requirements, and iv) include a compliance plan for requirements for which these flares were not

in compliance.

       144.      Subject to a reasonable opportunity for investigation and discovery, the Defendant

has operated, and continue to operate, the Defendant’s Facilities without having valid Title V

operating permits. The Defendant’s Title V operating permits failed to require, inter alia,

compliance with BACT or LAER, as applicable, for one or more of the flares identified in

Paragraphs 12-14, failed to identify all Applicable Requirements, and/or failed to contain a

compliance plan for coming into compliance with BACT or LAER, as applicable, at these flares.

       145.      Subject to a reasonable opportunity for investigation and discovery, the

Defendant’s acts and/or omissions constitute violations of:

                 a. 42 U.S.C. §§ 7661a(a), 7661b(c), and 7661c(a);

                 b. 40 C.F.R. §§ 70.1(b), 70.5(a)-(c), 70.6(a) and (c), and 70.7(b); and

                 c. The federally enforceable corollary provisions of the
                 Texas Title V program that adopt, incorporate, and/or implement any of
                 the federal provisions cited in sub-paragraphs 145(a) and (b).

       146.      Unless restrained by an order of this Court, the violations alleged in this Second

Claim for Relief will continue.



                                                - 30 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 31 of 38




          147.   As provided in Clean Air Act Section 113(b), 42 U.S.C. § 7413(b), the violations

set forth above subject the Defendant to injunctive relief and civil penalties. See also 40 C.F.R.

§ 19.4.

                                 THIRD CLAIM FOR RELIEF

                   Violations of NSPS, NESHAP, and MACT Requirements;
                     Title V Permits that Incorporate these Requirements

                          (Failure to Monitor to Ensure Flares are
                 Operated and Maintained in Conformance with their Design)

          148.   Paragraphs 4-14, and 42-129 are re-alleged and incorporated by reference.

          149.   Since at least 2009, the Cedar Bayou Flares, Port Arthur Flares and Sweeny

Flares have been subject to one or more of the following Clean Air Act regulations: 40 C.F.R.

Part 60, Subparts KB, VV, NNN, and/or RRR; 40 C.F.R. Part 61, Subpart V; and/or 40 C.F.R.

Part 63, Subparts F, G, YY, and/or FFFF.

          150.   Since at least 2009, the Cedar Bayou Flares, Port Arthur Flares and Sweeny

Flares have been subject to a federally enforceable Title V permit that requires compliance with

one or more of the following Clean Air Act regulations: 40 C.F.R. Part 60, Subparts Kb, VV,

NNN, and/or RRR; 40 C.F.R. Part 61, Subpart V; and/or 40 C.F.R. Part 63, Subparts F, G, YY,

and/or FFFF.

          151.   Since at least 2009, the Cedar Bayou Flares, Port Arthur Flares and Sweeny

Flares have been subject to the requirements of 40 C.F.R. §§ 60.18(d) and/or 63.11(b)(1).

          152.   At various times since the second calendar quarter of 2009, the Defendant has

failed to perform the following at one or more of the Cedar Bayou Flares, Port Arthur Flares and

Sweeny Flares: i) install and/or properly operate vent gas flow monitors and assist-steam flow


                                               - 31 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 32 of 38




monitors; ii) calculate steam-to-vent gas ratios; or iii) have sufficient controls on steam flow to

maintain steam-to-vent gas within design parameters.

          153.   The acts and omissions identified in this Claim for Relief constitute violations of:

                 a. Clean Air Act Sections 111(e) and 112, 42 U.S.C. §§ 7411(e) and 7412;

                 b. 40 C.F.R. §§ 60.18(d) and 63.11(b)(1);

                 c. The provisions of 40 C.F.R. Part 60, Subparts Kb, VV, NNN and/or RRR; 40
                 C.F.R. Part 61, Subpart V; and/or 40 C.F.R. Part 63, Subparts F, G, YY, and/or
                 FFFF that require flares to comply with the requirements identified in sub-
                 paragraphs 153(a) and (b);

                 d. The federally enforceable corollary provisions of the Texas SIP that adopt,
                 incorporate, and/or implement the federal provisions cited in sub-paragraphs
                 153(a)-(c);

                 e. The terms of the Clean Air Act Title V permits for the Defendant’s Facilities
                 that require compliance with the requirements identified in sub-paragraphs
                 153(a)-(d); and

                 f. The prohibition against violating a Clean Air Act Title V permit found at 42
                 U.S.C. § 7661a(a) and 40 C.F.R. § 70.7(b).

          154.   Unless restrained by an order of this Court, the violations alleged in this Third

Claim for Relief will continue.

          155.   As provided in Clean Air Act Section 113(b), 42 U.S.C. § 7411(b), the violations

set forth above subject the Defendant to injunctive relief and civil penalties. See also 40 C.F.R.

§ 19.4.

                                  FOURTH CLAIM FOR RELIEF

                    Violations of NSPS, NESHAP, and MACT Requirements;
                      Title V Permits that Incorporate these Requirements

     (Failure to Operate Flares Consistent with Good Air Pollution Control Practices)




                                                 - 32 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 33 of 38




        156.     Paragraphs 4-14, 42-129, and 149-155 are re-alleged and incorporated by

reference.

        157.     Since at least 2009, the Cedar Bayou Flares, Port Arthur Flares and Sweeny

Flares have been subject to the requirements of 40 C.F.R. §§ 60.11(d), 61.12(c), and/or

63.6(e)(1)(i).

        158.     At various times since at least the second calendar quarter of 2009, the Defendant

operated one or more of the Cedar Bayou Flares, Port Arthur Flares and Sweeny Flares without

sufficient NHV in the combustion zone gas.

        159.     Operating the flares at an insufficient NHV reduced combustion efficiency and

resulted in excessive emissions to the atmosphere from the flares of un-combusted and partially-

combusted HAPs and hydrocarbons (including VOCs), CO, and other pollutants.

        160.     At various times since at least the second quarter of 2009, the Defendant operated

one or more of the Cedar Bayou Flares, Port Arthur Flares and Sweeny Flares with excessively

high S:VG ratios.

        161.     Operating the flares with excessively high S:VG ratios increased the likelihood of

flame quenching or snuffing, reduced flare combustion efficiency, and resulted in excessive

emissions from the flares to the atmosphere of un-combusted and partially-combusted HAPs and

hydrocarbons (including VOCs), and other pollutants.

        162.     Since at least the second calendar quarter of 2009, the Defendant failed to install,

or failed to use, sufficient equipment and/or monitoring systems at one or more of the Cedar

Bayou Flares, Port Arthur Flares and Sweeny Flares to enable the Defendant to monitor,

measure, and/or calculate the NHV in the combustion zone gas of these flares. Moreover, the


                                                 - 33 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 34 of 38




Defendant failed to add supplemental gas quickly enough or in sufficient amounts to maintain

sufficient NHV in the combustion zone gas of these flares.

        163.      Since at least the second calendar quarter of 2009, at one or more of the Cedar

Bayou Flares, Port Arthur Flares and Sweeny Flares, the Defendant failed to: i) install or use

adequate monitoring to measure the flow of vent gas and/or assist-steam to the flares, ii)

calculate and monitor the ratio of the flows of vent gas to assist-steam, and/or iii) install

sufficient controls on, or sufficiently control the flow of, assist-steam to enable increasing or

decreasing it in order to optimize the S:VG, maintain a sufficient NHV of the combustion zone

gas, maximize flame stability, and maintain a high VOC combustion efficiency.

        164.      The Defendant violated good air pollution control practices by, inter alia: i)

operating the flares with an insufficient NHV in the combustion zone gas, ii) failing to monitor

the NHV in the combustion zone gas of the flares, iii) operating the flares with excessively high

S:VG ratios, iv) failing to install monitors sufficient to measure and calculate S:VG ratios at the

flares, and/or v) operating the flares without sufficient controls to optimize the assist-steam

injection rate.

        165.      The Defendant’s acts and omissions constitute violations of:

                  a. Clean Air Act Sections 111(e) and 112, 42 U.S.C. §§ 7411(e) and 7412;

                  b. 40 C.F.R. §§ 60.11(d), 61.12(c), and 63.6(e)(1)(i);

                  c. The provisions of 40 C.F.R. Part 60, Subparts KB, VV, NNN, and/or RRR; 40
                  C.F.R. Part 61, Subpart V; and/or 40 CFR Part 63, Subparts F, G, YY, and/or
                  FFFF that require flares to comply with the requirements identified in sub-
                  paragraphs 165(a) and (b);

                  d. The federally enforceable corollary provisions of the Iowa SIP and Texas SIP
                  that adopt, incorporate, and/or implement the federal provisions cited in sub-
                  paragraphs 165(a)-(c);


                                                 - 34 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 35 of 38




                 e. The terms of the Clean Air Act Title V permits for the Defendant’s Facilities
                 that require compliance with the requirements identified in sub-paragraphs 165
                 (a)-(d); and

                 f. The prohibition against violating a Clean Air Act Title V permit found at 42
                 U.S.C. § 7661a(a) and 40 C.F.R. § 70.7(b).

          166.   Unless restrained by an order of this Court, the violations alleged in this Fourth

Claim for Relief will continue.

          167.   As provided in Clean Air Act Section 113(b), 42 U.S.C. §§ 7411(b), the violations

set forth above subject the Defendant to injunctive relief and civil penalties. See also 40 C.F.R.

§ 19.4.

                                  FIFTH CLAIM FOR RELIEF

                    Violations of NSPS, NESHAP, and MACT Requirements;
                      Title V Permits that Incorporate these Requirements

                 (Combusting Gas in Flares with a NHV of Less than 300 BTU/scf)

          168.   Paragraphs 4-14, 42-129, 149-155, and 158-167 are re-alleged and incorporated by

reference.

          169.   Since at least 2009, the Cedar Bayou, Port Arthur and Sweeny Flares have been

subject to the requirements of 40 C.F.R. § 60.18(c)(3) and/or 63.11(b)(6).

          170.   At various times since the second calendar quarter of 2009, the Defendant

combusted gas that had a NHV of less than 300 BTU/scf in one of more of the Cedar Bayou,

Port Arthur and Sweeny Flares.

          171.   The acts and omissions identified in this Fifth Claim constitute violations of:

                 a. Clean Air Act Sections 111(e) and 112, 42 U.S.C. §§ 7411(e) and 7412;

                 b. 40 C.F.R. §§ 60.18(c)(3)(ii) and 63.11(b)(6)(ii);


                                                 - 35 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 36 of 38




                 c. The provisions of 40 C.F.R. Part 60, Subparts DDD; 40 C.F.R. Part 61,
                 Subpart FF; and/or 40 CFR Part 63, Subparts F, G, YY, and/or FFFF that require
                 flares to comply with the requirements identified in sub-paragraphs 171(a) and
                 (b);

                 d. The federally enforceable corollary provisions of the Iowa SIP and
                 Texas SIP that adopt, incorporate, and/or implement the federal provisions
                 cited in sub-paragraphs 171(a)-(c);

                 e. The terms of the Clean Air Act Title V permits for the Defendant’s Facilities
                 that require compliance with the requirements identified in sub-paragraphs
                 171(a)-(d); and

                 f. The prohibition against violating a Clean Air Act Title V permit found at 42
                 U.S.C. § 7661a(a) and 40 C.F.R. § 70.7(b).

          172.   Unless restrained by an order of this Court, the violations alleged in this Fifth

Claim for Relief will continue.

          173.   As provided in Clean Air Act Section 113(b), 42 U.S.C. §§ 7411(b), the violations

set forth above subject the Defendant to injunctive relief and civil penalties. See also 40 C.F.R.

§ 19.4.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, the United States, respectfully requests that this Court:

          1. Enter judgment in favor of the United States against the Defendant Chevron Phillips

Chemical Company LP;

          2. Order the Defendant to take all actions necessary to operate the flares at the

Defendant’s Facilities in compliance with the Clean Air Act requirements that this Complaint

alleges the Defendant violated, including the applicable requirements of the Texas SIP;

          3. Permanently enjoin the Defendant from operating the flares at the Defendant’s

Facilities except in accordance with the Clean Air Act and applicable regulatory requirements,

including the Texas SIP;

                                                 - 36 -
     Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 37 of 38




       4. Order the Defendant to take other appropriate actions to remedy, mitigate, and offset

the harm caused by the alleged Clean Air Act violations, by among other things, requiring the

Defendant to address or offset their unlawful emissions;

       5. Assess civil penalties of up to $37,500 per day for each violation occurring between

January 13, 2009 and November 2, 2015; and up to $109,024 per day for each violation

occurring after November 2, 2015;

       6. Award the Plaintiff its costs of this action; and

       7. Grant such other and further relief as the Court deems just and proper.

                                              Respectfully submitted,

                                              TODD KIM
                                              Assistant Attorney General
                                              Environment and Natural Resources Division
                                              United States Department of Justice

       Attorney-in-Charge:                    THOMAS P. CARROLL
                                              District of Columbia Bar No. 388593
                                              Assistant Section Chief
                                              Environmental Enforcement Section
                                              Environment and Natural Resources Division
                                              U.S. Department of Justice
                                              P.O. Box 7611
                                              Washington, DC 20044-7611
                                              Tel: 202-514-4051
                                              thomas.carroll@usdoj.gov

                                              JENNIFER B. LOWERY
                                              United States Attorney
                                              Southern District of Texas

       Local Co-counsel:                      s/Jimmy A. Rodriguez
                                              JIMMY A. RODRIGUEZ
                                              Senior Litigation Counsel
                                              Assistant United States Attorney
                                              Southern District of Texas

                                               - 37 -
    Case 4:22-cv-00737 Document 1 Filed on 03/09/22 in TXSD Page 38 of 38




                                          Texas Bar No. 24037378
                                          Federal ID No. 572175
                                          1000 Louisiana, Suite 2300
                                          Houston, Texas 77002
                                          Tel: (713) 567-9532
                                          Fax: (713) 718 3303
                                          jimmy.rodriguez2@usdoj.gov


OF COUNSEL:
Robert Parrish, Attorney-Advisor
Air Enforcement Division, Office of Civil Enforcement
United States Environmental Protection Agency, HQ
Mail Code 2242A
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460

                                         ATTORNEYS FOR THE UNITED STATES




                                           - 38 -
